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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF OKLAHOMA

              NOVEMBER STATUS AND SCHEDULING CONFERENCE DOCKET
                                          for
                               Judge Patrick R. Wyrick

      Tuesday, November 3, 2020

            1. Your status and scheduling conference will be held in Judge Wyrick’s
               Courtroom No. 503, on the 5th floor, of the William J. Holloway, Jr. United
               States Courthouse, 200 NW 4th Street, Oklahoma City, Oklahoma.

            2. You must confer with the opposing party and prepare a Joint Status Report
               and Discovery Plan, and file it on or before Tuesday, October 27, 2020.

            3. You must state in the Joint Status Report whether you have complied with
               Local Rule 26.1. Strict compliance with Local Rule 16.1 and 26.1 is
               expected.

            4. At the conference, be prepared to report whether you have exchanged
               discovery.

            5. To the extent that the parties wish to submit an Agreed Protective Order
               pursuant to Section 8(F) of the Joint Status Report and Discovery Plan,
               attach the Agreed Protective Order to the Joint Status Report and Discovery
               Plan when it is filed and submit the proposed Agreed Protective Order in
               Word format to the Judge via the Judge’s orders email inbox at: wyrick-
               orders@okwd.uscourts.gov

            6. If you are not a local attorney, you may appear by telephone, so long as you
               seek leave to do so by motion at least two days prior to the conference.

            7. Please note that a valid photo identification is required to enter the federal
               courthouse building.



9:30 a.m.

      CIV-19-990-PRW           Michael Terry, et al.                       Sherry Doyle

                               v.

                               Roger Ely, et al.                           Jared Boyer


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9:50 a.m.

      CIV-20-734-PRW     Debra Reim                       Brice Bisel
                                                          Daniel Bryan
                         v.

                         United States of America         Alison Spurlock




10:10 a.m.

      CIV-20-737-PRW     Alesia Torres                    Jeffrey Wilson

                         v.

                         Account Resolution Services      Linda Szuhy Ressetar




10:30 a.m.

      CIV-20-738-PRW     Alesia Torres                    Jeffrey Wilson

                         v.

                         IC Systems Inc.                  Bobby Irby




10:50 a.m.

      CIV-20-753-PRW     Jhanar Attaway, et al.           Brian Grayson

                         v.

                         Tsegay Weldegebrial, et al.      Andre Valentim Farinha
                                                          J. Derrick Teague


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11:10 a.m.

      CIV-20-805-PRW     Chioma Muonelo                        Tiffany Hill


                         v.

                         Loancare LLC                          Raymond Zschiesche




11:30 a.m.

      CIV-20-910-PRW     AES Shady Point LLC                   Carson Glass
                                                               James Reed
                                                               Tami Hines
                         v.

                         Oklahoma Gas & Electric Corporation   A. Craig Tomlin
                                                               Heidi Nichols
                                                               Robin Fields
                                                               Valerie Hatami
                                                               Jennifer Castillo




11:50 a.m.

      CIV-20-956-PRW     Davis Sanitation Inc.                 Patrick Collogan


                         v.

                         Terri Lynn Gooch, et al.              F. Jason Goodnight
                                                               Phillip Wilson




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12:10 p.m.

      CIV-20-960-PRW     Mark Howell                      D. Colby Addison
                                                          Leah Roper

                         v.

                         Duit Holdings Inc., et al.       Nathan Whatley
                                                          Jeffrey Taylor




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